                                  UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF GEORGIA
                                        AUGUSTA DIVISION

 THE STATE OF GEORGIA, et al.                 )
                                              )
                Plaintiffs,                   )
                                              )
 v.                                           )
                                              )      Case No. 1:21-cv-163-RSB-BKE
 JOSEPH R. BIDEN in his official              )
 capacity as President of the United          )
 States, et al.                               )
                                              )
                Defendants.                   )
                                              )

                              DEFENDANTS’ NOTICE OF APPEAL

        PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States Court of

Appeals for the Eleventh Circuit from this Court’s Opinion & Order dated December 7, 2021, ECF

No. 94, which (1) granted the amended motion for a preliminary injunction filed by Plaintiffs, ECF

No. 55; (2) granted in part and denied in part the motion to intervene filed by Associated Builders

and Contractors of Georgia and Associated Builders and Contractors, Inc. (ABC), ECF No. 48;

and (3) granted ABC’s motion for a preliminary injunction, ECF No. 50.



Dated: December 9, 2021                           Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Acting Assistant Attorney General

                                                  DAVID ESTES
                                                  Acting United States Attorney

                                                  BRAD P. ROSENBERG
                                                  Assistant Branch Director
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                                                  /s/ Vinita B. Andrapalliyal

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